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01/04/2023 WED 16:00 FAX 9143420530 PHILIPSBURG LIBRARY

12/19/22
To Whom It May Concern,

My name is Brian DiPlacido. | have been a member In good standing of Alcoholics Anonymous
for 14.6 years.

| have known Keegan McChesney for 16 months. He has worked for me at my home and in my
business, demonstrating a trustworthy character. My partner and | trust him with keys to the
store, and he routinely works alone in a largely cash business.

Having sponsored many men through the years, | am aware that we can never really know how
serious someone Is about recovery until all their legal troubles are over. I've been fooled more
than a few times.

If Keegan continues to work an active 12-step recovery program, he will do fine and continue to
contribute to the Erie community. A sentence that minimizes active incarceration and
maximizes probation would perhaps be appropriate.

Thank you for your time in reviewing this letter.
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Brian DiPlacido
814-923-6873 ‘
btadiplacido@gmail.com

 
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December 19, 2022

To Whom It May Concern,

Keegan McChesney was accepted into the New Life Program on January 24'*, 2022, The New
Life Program Is a nine month program designed to aide men in recovery as they make the
necessary changes In their lives to transitlon back to thelr familles and communities. While in
our program they breathalyzed every night and are subject to random drug testing. Keegan
Passed all testing.

While In the New Life program Keegan participated in individual counseling, financial
rebuilding, job preparation and groups designed to develop healthy life skills and promote
recovery. He was asked to address his behaviors and thinking errors. In Keegan’s case we
spent tlme addressing the Idea that he has emotional reactions that often lead to poor choices
in behavior. We also addressed how he rationalized those cholces and who he hurts with those
choices. Most of our time was spent on addressing and building a strong foundation of
recovery, ‘

Currently Keegan’s foundation of recovery includes AA/NA Meetings, working with sponsor,
Step work, H and | work at local hospitals/rehabs, employment, drug free recreation and
serving at his church.- He has been drug and alcohol free 2.5 years and has built a new life in
Erie. ;

If the court chose to allow Federal probation Keegan and could continue working with the staff
of the Erle Clty Misslon, He could follow-up with Stairways.

In closing, | believe at this time Keegan is a productive member of saclety and has made
changes that will allow him to grow and succeed.

If | can be of further assistance, please contact me at (814)823-5079

Sincerely,

Mary Gollmer, CADC

Erle City Misslon

1017 French St.

Erie, Pa. 16501

Office (814) 452-4421 ext. 241

Fax (814) 456-9527
mary.gollmer@erlecitymlssion.org

 
